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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF LOUISIANA

 DR. DOROTHY NAIRNE, JARRETT
 LOFTON, REV. CLEE EARNEST LOWE, DR.
 ALICE WASHINGTON, STEVEN HARRIS,
 ALEXIS CALHOUN, BLACK VOTERS
 MATTER CAPACITY BUILDING
 INSTITUTE, and THE LOUISIANA STATE
 CONFERENCE OF THE NAACP,                                Civil Action No. 3:22-cv-00178
                                Plaintiffs,              SDD-SDJ

 v.
 NANCY LANDRY, in her official capacity as
 Secretary of State of Louisiana,
                                Defendant.


             PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF
      MOTION FOR SPECIAL ELECTION AND EXPEDITED BRIEFING SCHEDULE

        Plaintiffs have met their burden of establishing that S.B. 1 and H.B. 14 improperly dilute

Black Louisianans’ voting strength and have shown that it is possible to draw remedial maps that

include additional Black-majority districts using traditional redistricting principles. In order to

prevent ongoing and further harm to Black Louisianans, Plaintiffs hereby move for an order

requiring the State to hold a special election for the Louisiana state legislature in November 2024

concurrent with other elections on the calendar, using new remedial maps either drawn by the

Louisiana Legislature or this Court.

        Plaintiffs also request an expedited briefing schedule on this motion to ensure that a new

map can be adopted and a special election can be conducted in a timely and orderly manner. If

this Court grants Plaintiffs’ motion for a special election, then prompt implementation of legally

compliant House and Senate Maps must follow to provide Defendants with time to administer an

election this fall. Accordingly, it is vital that this motion is resolved expeditiously to ensure that,
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if the Court grants Plaintiffs’ request to order a special election, it will be possible to effectuate

that relief.

                                    FACTUAL BACKGROUND

          Plaintiffs—four individual voters in Louisiana and two organizations dedicated to

furthering the voting rights of Black Louisianians—initiated this action to challenge redistricting

plans for the Louisiana House and the Louisiana Senate that disenfranchise minority voters

pursuant to Section 2 of the Voting Rights Act of 1965 (“Section 2”), 52 U.S.C. § 10301.

Following a seven-day trial on the merits beginning November 27, 2023 and ending December 5,

2023, this Court ruled that Plaintiffs had met their burden of establishing that, under the totality of

the circumstances, S.B. 1 and H.B. 14 have the effect of abridging the right of Plaintiffs and other

Black voters to an equal opportunity to elect their candidates of choice in violation of Section 2,

and enjoined any further elections under those maps. See generally ECF No. 233.

          Due to circumstances beyond Plaintiffs’ control and despite Plaintiffs’ diligence in acting

expeditiously, the trial did not take place until after the dilutive map was used for the 2023

elections. Plaintiffs filed their complaint on March 14, 2022, less than a week after S.B. 1 and

H.B. 14 became law without the Governor’s signature on March 9, 2022. See ECF No. 1; La.

Legis., SB1 (2022 First Extraordinary Session), available at https://perma.cc/RX74-VU4H (last

visited    Feb.    12,   2024);   La.   Legis.,   HB14      (2022    First   Extraordinary     Session),

https://perma.cc/2QKG-2KML (last visited Feb. 12, 2024). Plaintiffs then moved for this case to

be considered on an expedited basis, noting that “[t]he elections that are the subject of this litigation

fall on the latter half of the 2023 calendar,” and seeking a schedule that would allow this Court to

“reach a final judgment before those deadlines” associated with the 2023 elections. ECF No. 45-




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1. This Court granted that motion and scheduled a bench trial to take place beginning January 17,

2023. ECF No. 66.

       The trial did not occur as scheduled, however, because Defendants successfully moved for

a stay, which prevented Plaintiffs from securing relief on their Section 2 claims before elections

were conducted under the challenged maps. ECF No. 61, 79. In their request to lift the stay, filed

the day after the Supreme Court issued its decision in Allen v. Milligan, 599 U.S. 1 (2023),

Plaintiffs requested a pretrial schedule that would permit them to seek a preliminary injunction,

allowing for relief in time for the 2023 legislative elections. ECF No. 83-1. In an exercise of

judicial restraint, this Court denied that request and set the case on an expedited trial schedule.

ECF No. 93. With that schedule in place, Plaintiffs moved promptly toward trial, see ECF No. 82-

1; ECF No. 94, in the face of continued machinations by Defendants to delay resolution of the

case, see, e.g., ECF No. 92; ECF No. 101; ECF No. 107; ECF No. 184.

       As a result of the stay, between the date when Plaintiffs commenced this action (March 14,

2022) and the date this Court issued its decision on the merits (February 8, 2024), Louisiana held

an election for its state legislature (both House and Senate) using the electoral maps that this Court

has now enjoined.          See La. Legis, Members Elected for the 2024–2028 Term,

https://perma.cc/H8PX-TL8H (last visited Feb. 13, 2024). Unless a special election is called,

Senators and Representatives elected under these maps—which have been illegal under Section 2

since passed—will sit in office until 2028, effectively continuing to dilute Black Louisianans’

voting power illegally for another four years. Id.

                                           ARGUMENT

       A district court has broad discretion to order appropriate remedial relief for Section 2

violations, and remedial relief should be “fashioned in the light of well-known principles of




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equity.” North Carolina v. Covington, 581 U.S. 486, 488 (2017) [hereinafter “Covington I”].

“Once a right and a violation have been shown, the scope of a district court’s equitable powers to

remedy past wrongs is broad, for breadth and flexibility are inherent in equitable remedies.”

Swann v. Charlotte-Mecklenburg Bd. of Educ., 402 U.S. 1, 15 (1971). To determine appropriate

relief, a district court “must undertake an ‘equitable weighing process’ to select a fitting remedy

for the legal violations it has identified.” Covington I, 581 U.S. at 488 (quoting NAACP v.

Hampton Cnty. Election Comm’n, 470 U.S. 166, 183 n.36 (1985)).

       In many instances—including here—a special election is the appropriate remedy to redress

the harm suffered. “[W]here a governing body has been elected under … an election scheme [that]

cancel[s] out the voting strength of a cognizable portion of the populace, thus denying them access

to the political process, prompt new elections are appropriate.” Wallace v. House, 377 F. Supp.

1192, 1201 (W.D. La. 1974), aff’d in part and rev’d in part on other grounds, 515 F.2d 619 (5th

Cir. 1975); see also Clark v. Roemer, 777 F. Supp. 471, 484 (M.D. La. 1991) (“Federal courts have

ordered special elections to remedy violations of voting rights on many different occasions.”);

Arbor Hill Concerned Citizens v. Cnty. of Albany, 357 F.3d 260, 262 (2d Cir. 2004); Goosby v.

Town Bd. of Hempstead, 180 F.3d 476, 498 (2d Cir. 1999); Large v. Fremont Cnty., No. 05-cv-

0270, 2010 WL 11508507, at *15 (D. Wyo. Aug. 10, 2010); United States v. Osceola Cnty., 474

F. Supp. 2d 1254, 1256 (M.D. Fla. 2006); Williams v. City of Dallas, 734 F. Supp. 1317, 1318,

1415 (N.D. Tex. 1990).

       The Supreme Court has laid out three “obvious considerations” to weigh when assessing

whether to order a special election: (1) “the severity and nature” of the violation at issue; (2) “the

extent of the likely disruption to the ordinary processes of governance if early elections are

imposed”; and (3) “the need to act with proper judicial restraint when intruding on state




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sovereignty.” Covington I, 581 U.S. at 488. As explained further below, each of those “obvious

considerations” weighs in favor of granting Plaintiffs’ request for a special election. 1

       A.      The Severity and Nature of Defendants’ Section 2 Violations Demand a Special
               Election.

       The factors enumerated in Covington and its progeny demonstrate why the severity of the

Voting Rights Act violation in this case requires a special election. On remand from the Supreme

Court, the three-judge district court in Covington again considered whether to order a special

election. Covington v. North Carolina, 270 F. Supp. 3d 881 (M.D.N.C. 2017) [hereinafter

“Covington II”]. In assessing the severity and nature of the violation as instructed by the Supreme

Court, the district court considered five factors: (1) the importance of the rights at issue and the

harms attendant to their violation, id. at 890–91; (2) whether the existence of a violation was “a

close case,” id. at 891–92; (3) the geographic scope of the violation, id. at 892; (4) the human toll

of the violation in terms of the number of individual voters impacted and the harm to their

communities, id. at 893–94; and (5) the temporal scope of the violation, id. at 894. Applying these

factors in the present case demonstrates that the Section 2 violation this Court identified in its

Ruling is especially severe and pernicious, justifying a special election.

       First, like Covington II, this case involves both a violation of the right to vote and racial

discrimination. Id. at 890–91. As this Court has explained:

       Though the states retain considerable power to regulate elections, their power has
       limits: in the course of their regulation, they may not unduly burden the citizens’
       right to vote – the fundamental political right, because preservative of all rights.
       Indeed, voting is of the most fundamental significance under our constitutional
       structure.


1
 Courts in the Fifth Circuit have considered a comparable set of factors in ordering special-election
relief where elections under unlawful maps would have otherwise occurred. See, e.g., Williams,
734 F. Supp. at 1318; Tucker v. Buford, 603 F. Supp. 276, 279 (N.D. Miss. 1985); Toney v. White,
488 F.2d 310, 314–15 (5th Cir. 1973); Keller v. Gilliam, 454 F.2d 55, 57 (5th Cir. 1972).


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Harding v. Edwards, 487 F. Supp. 3d 498, 503 (M.D. La. 2020) (internal citations and quotation

marks omitted). It is well-settled that the loss of a meaningful right to vote is unquestionably

severe and requires prompt redress (including, in appropriate circumstances, in the form of a

special election). See Wright v. Sumter Cnty. Bd. of Elections and Registration, 361 F. Supp. 3d

1296, 1300–02, 1305 (M.D. Ga. 2018), aff’d, 979 F.3d 1282 (11th Cir. 2020) (holding that

Covington considerations favored special election and emphasizing that “the right to vote is a right

of paramount constitutional significance, the violation of which permits federal court

intercession”) (cleaned up). “No right is more precious in a free country than that of having a

voice in the election of those who make the laws under which, as good citizens, we must live.”

Wesberry v. Sanders, 376 U.S. 1, 17 (1964). “Voting is a ‘fundamental political right, because it

is preservative of all rights.’” Robinson v. Ardoin, 605 F. Supp. 3d 759, 851 (M.D. La. 2022)

(internal citations omitted).

       Furthermore, the harms that begin with the enactment of maps that violate the Voting

Rights Act “are inflicted again and again with the use of those maps in each subsequent election

cycle,” and, by allowing legislators to take official acts notwithstanding the illegitimate nature of

their elections “continue unabated until new elections are held under [VRA-compliant] districting

plans.” Covington II, 270 F. Supp. 3d at 891.

       Second, as this Court’s Ruling makes clear, this was not a close case. Plaintiffs offered

stark and largely unrebutted evidence that the enacted maps violate the Voting Rights Act. Indeed,

in assessing the totality of the circumstances under Section 2, this Court found that every applicable

factor weighed in Plaintiffs’ favor. ECF No. 233 at 88; see also id. at 75–88. In contrast, much




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of Defendants’ evidence was irrelevant to assessing a Section 2 violation. 2 The Section 2 violation

proven in this case is therefore subject to no “rational disagreement.” Covington II, 270 F. Supp.

3d at 891–92.

       Third, in proving their case, Plaintiffs demonstrated violations of Section 2 all across the

state, identifying vote dilution in five separate regions in the House map covering every corner of

the state and three in the Senate map, affecting dozens of districts into which Black voters were

either packed or cracked.      ECF No. 233 at 62–67 & n.359.            Plaintiffs’ illustrative maps

demonstrated that the State could draw six additional majority-Black house districts and three

additional majority-Black Senate districts in these regions, and this Court has now concluded that

the “Enacted House and Senate Maps, in the areas where illustrative districts are proposed, are

dilutive of Black voting strength and violative of § 2 of the Voting Rights Act.” ECF No. 234 at

4–7, 15.

       Fourth, the number of individuals and districts impacted by the violation also enhances the

severity of the already severe harm (and the concordant need for immediate redress). Covington

II, 270 F. Supp. 3d at 892 (concluding that the “substantial number of legislative districts that must

be redrawn . . . weighs in favor of ordering a special election”). The evidence in this case showed

that hundreds of thousands of voters had their votes diluted as a result of the enacted maps. The

court heard testimony from individuals about the everyday impact of unresponsive representation



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  See, e.g., ECF No. 233 at 45 (describing Mr. Trende’s compactness measure as “fundamentally
flawed and completely useless”); id. at 51 (describing Dr. Murray’s conclusions as “devoid of
probative value”); id. at 53, 55 (describing Dr. Barber’s conclusions as having “no probative value”
and “irrelevant”); id. at 56, 57 (describing Dr. Johnson’s conclusions as “meaningless,”
“unremarkable and not probative,” and “a red herring”); id. at 71 (explaining that Dr. Lewis’s
conclusions do not address “the focus of the third Gingles precondition analysis”); id. at 73
(explaining that Dr. Alford’s analysis “appears to answer a question that Gingles II does not ask
and in fact squarely rejects”).


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in the state legislature. ECF No. 233, at 81–84 & n.445, 450, 452. Because the enacted maps

impermissibly impinge upon the right to vote for all Black voters living in the many districts where

their votes are being diluted, and as elections were conducted in all of these districts under the

illegal maps in November 2023, the harm suffered by Plaintiffs is severe and warrants a special

election.

       Finally, the harm to Plaintiffs’ precious right to vote is all the more severe because it is

ongoing and will persist without court intervention. An election under maps this Court has

declared unlawful took place in 2023. Aggravating that circumstance, that election went forward

despite Plaintiffs’ efforts to seek prompt resolution of their claims after the maps were enacted

because Defendants succeeded in delaying the trial for nearly a year. Without a special election,

Plaintiffs will have no opportunity to obtain relief from Defendants’ violations until nearly the end

of the decade in 2028, when representatives elected under a lawful map will first take office.

       Thus, under every relevant consideration, this case presents the special circumstance in

which this Court’s equitable powers can properly be employed to order a special election.

       B.      A Special Election Will Not Disrupt Louisiana’s Governance.

       Similarly, the second “obvious consideration” identified by the Supreme Court in

Covington weighs in favor of a special election, because it will cause no disruption to the ordinary

processes of governance. As when assessing whether a special election will intrude on state

sovereignty, courts assessing disruption to ordinary processes of government are “guided by the

foundational principle that sovereignty itself remains with the people, by whom and for whom all

government exists and acts.” Covington II, 270 F. Supp. 3d at 898 (internal citation and quotation

marks omitted). Relevant to consideration of whether a special election will disrupt the ordinary

processes of governance is whether it may lead to voter confusion, the length of time remaining in

terms filled through the special election, whether there is sufficient time for judicial review of any


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remedial map proposed to be used in the special election, and the administrative burdens of

conducting the special election. See id. at 898–901.

        Here, the record demonstrates that, once remedial maps have been selected, there is

sufficient time for the State to implement a remedial map and to hold a special election in 2024

without disrupting existing schedules or causing voter confusion. Plaintiffs propose a special

election on the same calendar as the upcoming regularly scheduled congressional elections. In

other words, the special election will not add additional election days in 2024 and will avoid any

voter confusion resulting from multiplying the number of elections voters are called on to

participate in. Compare Navajo Nation v. San Juan Cnty., No. 2:12-CV-00039, 2017 WL

6547635, at *18 (D. Utah Dec. 21, 2017), aff’d, 929 F.3d 1270 (10th Cir. 2019) (applying

Covington I considerations and finding special elections would not interfere with ordinary process

of governance where “[t]he special elections will proceed under the regularly scheduled 2018

election deadlines and processes….”), with Covington II, 270 F. Supp. 3d at 899 (declining to

impose special election on an additional election day because the “close succession during which

voters would be called upon to participate in both special and regularly scheduled elections risks

generating substantial voter confusion and resulting low voter turnout”). Adding additional races

to an already-scheduled election day limits any undue burdens on election officials. See, e.g.,

Navajo Nation, 2017 WL 6547635, at *18; Cosner v. Dalton, 522 F. Supp. 350, 364 (E.D. Va.

1981) (ordering special election for state legislature to align with federal congressional elections

where new map could not be implemented in time for regularly scheduled state legislative

election).

        This proposed schedule will preclude overlapping election and campaign periods for the

same offices, avoiding voter confusion and administrative burdens on that front as well. Cf.




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Covington II, 270 F. Supp. 3d at 899 (special election would lead to voter confusion where

“schedule would require legislative candidates to file to run in the [next regularly scheduled]

general election before the … special election takes place,” effectively requiring candidates “to

run two simultaneous election campaigns for the same seat”). The trial record demonstrates that

holding special elections for the state legislature alongside scheduled federal elections in 2024 is

part of the regular election administration in Louisiana: Election Commissioner Sherri Hadskey

confirmed that the Secretary of State actively tries to schedule special elections alongside already

scheduled elections to save costs and for the sake of administrative efficiency, and that special

elections for members of the Louisiana House and Senate have been held on the same timeline as

federal elections in the recent past. See ECF No. 218 at 28:4–29:1, 31:14–33:5 (describing special

election for Louisiana House scheduled on “an already scheduled” municipal election date, and

special election for Louisiana Senate scheduled on the same dates as federal elections in 2022).

        The length of time remaining in the current legislators’ terms also counsels in favor of

holding a special election here. If the Court does not order a special election, three full years and

three regular legislative sessions would remain prior to the next legislative election in 2027.

Additionally, the upcoming legislative session will be over before well before the first election

deadline—the candidate qualifying period that occurs from July 17 to July 19, 2024, see PX 168—

and the special election will therefore have no impact on the ability of current legislators to carry

out their duties.

        Additionally, because of the alacrity with which the Plaintiffs and the Court moved to a

trial and judgment, there is more than enough time for the Louisiana Legislature to have an

opportunity to develop remedial House and Senate maps, for the Court to review those maps, and

if necessary, for the Court to develop its own maps prior to the start of the election season. See,




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e.g., Larios v. Cox, 305 F. Supp. 2d 1335, 1342 (N.D. Ga. 2004) (three-judge court) (requiring a

state to redraft congressional maps eight months before the general election and retaining

jurisdiction for the court to draw an interim plan if the legislature failed to act in time).

        Any administrative burdens associated with conducting a special election will be

manageable. Commissioner Hadskey testified that the key step in implementing a redistricted map

is proofreading the map, ECF No. 218 at 23:4–6, and that the process for proofreading the maps

used to elect Louisiana’s House and Senate is the same as the process for proofreading the maps

used to elect Louisiana’s congressional representatives, id. at 24:25–26:1.3 And counsel for the

Secretary of State recently represented before the Fifth Circuit that that process can be completed

for congressional districts in time for the November 2024 election cycle so long as a remedial map

is in place by May 30, 2024. See Robinson v. Ardoin, 86 F.4th 574, 584 (5th Cir. 2023) (“[Counsel]

additionally suggested a May 30 deadline for a new map to be drawn, approved, and enacted for

the 2024 elections.”). Because the implementation process for the new state legislative maps

should be similar to the process for the changes to Louisiana’s congressional map, it should be

possible for the Secretary of State to conduct a special election under the new legislative maps in

November 2024. Moreover, the evidence in the record established that only 26% of voters within

the redrawn Illustrative Senate Plan and 21.5% of voters within the redrawn Illustrative House

Plan would have their Senate or House districts changed. ECF 234 ¶¶ 32–33 (citing Pla-20,

Corrected Report of Bill Cooper, at 30, 44). There is no reason to expect that any other remedial

plan would result in dramatically more voters being moved from one district or another.


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  Moreover, because the proofreading process occurs on a “voter by voter” basis (rather than
requiring a proofread for all voters for every new map), ECF No. 218 at 24:2–20, 26:2–14, the fact
that only about a quarter of all Louisiana voters are implicated by the changes to each legislative
map further reveals that the proofreading required to implement the new maps will not impose a
significant burden on election officials. See ECF 234 ¶¶ 32–33.


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       Moreover, because the process for finalizing ballots cannot begin until after the qualifying

deadline in July, see PX 168, the State’s suggested May 30, 2024 deadline (see supra) would allow

for the new legislative maps to be in place a month and half before the election officials can even

start the process of preparing ballots for the elections. There is abundant time to draft and

implement a remedial map in time for a special election for the state legislature to be held during

the November 2024 election cycle.

       In sum, conducting a special election for state legislative offices in November 2024 will

have virtually no impact on the ordinary processes of governance, and this consideration also

weighs in favor of a special election in this case.

       C.      Ordering a Special Election Under These Extraordinary Circumstances
               Would Not Improperly Intrude on State Sovereignty.

       Finally, with respect to the third “obvious consideration,” Plaintiffs’ requested remedy—a

special election—does not improperly intrude on state sovereignty, particularly in light of the

severity of the harm and the minimal impact on state policy preferences. See Covington II, 270 F.

Supp. 3d at 896 (weighing effect of special election on state sovereignty against severity of

violation); see also Wright, 361 F. Supp. 3d at 1305. Section 2 was enacted pursuant to Congress’s

powers under the Fifteenth Amendment. Milligan, 599 U.S. at 41–42. Like the other Civil War

Amendments, the Fifteenth Amendment was “specifically designed as an expansion of federal

power and an intrusion on state sovereignty.” City of Rome v. United States, 446 U.S. 156 (1980);

see also South Carolina v. Katzenbach, 383 U.S. 301, 325 (1966) (“the Fifteenth Amendment

supersedes contrary exertions of state power”).

       Because enforcement of the Voting Rights Act against a state always involves some

intrusion on state sovereignty, the question in evaluating whether a proposed remedy reflects an

appropriate exercise of this Court’s equitable powers is whether the intrusion on state power is



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proportional to the violation at issue. See Covington II, 270 F.Supp.3d. at 895 (court must

determine “whether a special election constitutes an undue intrusion on state sovereignty”)

(emphasis in original).    In Covington II, the district court evaluated the intrusion on state

sovereignty represented by special elections by weighing any intrusion against both “the serious

and widespread nature” of the violation being remedied, and the district court’s “previous exercise

of judicial restraint in declining to immediately remedy” that violation. Id. at 896. Here, both the

magnitude of the Voting Rights Act violation and the unusual events that have prevented Plaintiffs

from obtaining a remedy sooner (including this Court’s previous exercises of restraint) reflect why

ordering a special election under the circumstances of this case is consistent with proper judicial

restraint.

        As this Court has now determined, the current legislative maps are “dilutive of Black voting

strength and violative of § 2 of the Voting Rights Act” in each of the areas where Plaintiffs have

proposed new illustrative districts—impacting nine total districts in areas across the state of

Louisiana where Black voters are currently being denied an opportunity to elect the candidate of

their choice. ECF No. 234 at 4–7, 15. The scope of the Section 2 violation “also means that the

districting plans intrude on popular sovereignty” and “potentially distort the outcome of elections

and the composition and responsiveness of the legislature, [interfering] with the very mechanism

by which the people confer their sovereignty” on the state legislature and hold its members

accountable. Covington II, 270 F. Supp. 3d at 897; id. at 896 (“[A] more pervasive constitutional

violation may justify—indeed, demand—a more intrusive remedy.”).

        In contrast, the impact on state sovereignty is slight. In Covington II, the court considered

such issues as whether special elections departed from the state’s preferred method for filling

vacancies, interrupted an ongoing legislative session, or shortened the terms of sitting legislators.




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Id. at 895. Here, unlike in Covington II, a special election is entirely consistent with the state’s

required method for filling vacancies. See LA Rev Stat § 18:601 (special elections shall be ordered

within 10 days of any vacancy of the state legislature). Similarly, unlike North Carolina, where

legislative sessions run for two years, see Covington II, 270 F. Supp. 3d at 895, the legislative

session in Louisiana runs from March or April to June of each year, La. Const. art. III, § 2, and

will not be interrupted by a special election in November 2024, which will ensure a new legislature

can be sworn in prior to the start of the next legislative session in April 2025.

       A special election would have the effect of shortening the terms of some sitting legislators,

but that in itself is an insufficient intrusion on state sovereignty to outweigh the need to remedy

the widespread Section 2 violation found by this Court. See Covington II, 270 F. Supp. 3d at 896

(collecting cases). The legislature is currently only one year into a four-year term, leaving three

years and three regular legislative sessions in the legislative terms after a special election in

November 2024.

       Further weighing in favor of a special election in this circumstance is the Court’s previous

exercise of judicial restraint in declining to accommodate Plaintiffs’ requested hearing date for a

proposed preliminary injunction motion. ECF Nos. 83-1, 93. Here, as in Covington II, the

intervening election occurred under the State’s unlawful maps because the Court declined to

impose a provisional map for use in an election where the initial election-related deadlines had

already passed. As the Covington court explained:

       When, as here, courts have declined to immediately remedy an unconstitutional
       districting plan due to a rapidly approaching election, those courts have concluded
       that the balance of equities favors later ordering a special election because citizens
       are entitled to have their rights vindicated as soon as possible so that they can vote
       for their representatives under a constitutional apportionment plan.




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Covington II, 270 F. Supp. 3d at 897 (citing Smith v. Beasley, 946 F. Supp. 1174, 1212 (D.S.C.

1996); Cosner, 522 F. Supp. at 364) (cleaned up). The Court’s “exercise of judicial restraint in

allowing the State to use the [unlawful] districting plans in the [2023] elections weighs heavily in

favor of ordering a special election.” Id. at 897–98.

        Plaintiffs’ diligence in pursuing relief and this Court’s decision to defer trial until after the

2023 election demonstrate why ordering a special election is consistent with the proper exercise

of judicial restraint. 4 Justice has already been long delayed for these Plaintiffs, through no fault

of their own. Under these circumstances, it is proper for the Court to take steps to remedy

Plaintiffs’ harm, rather than allow Black Louisianans to remain governed by districts in which they

“have less opportunity than other members of the electorate to participate in the political process

and to elect representatives of their choice” for a full four-year term. ECF No. 234 at 14.

        Moreover, in recognition of the state’s sovereign interest in drawing redistricting plans for

its legislative body, Plaintiffs have requested a scheduling order in this matter that will allow the

Louisiana Legislature a reasonable period of time to issue new legislative maps consistent with the

Voting Rights Act and this Court’s order. Plaintiffs’ proposed schedule would afford nearly three

full session weeks—and, in total, 35 days from this Court’s decision (issued on February 8, 2024,

ECF No. 233)—to pass alternative maps that comply with this Court’s order. Plaintiffs’ proposed




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  Fifth Circuit courts have considered special elections a more favorable form of retroactive relief
where Plaintiffs first seek pre-election relief and were denied. See Tucker, 603 F. Supp. at 277–
79; Williams, 734 F. Supp. at 1415. Similarly, where the pendency of a Supreme Court decision
interferes with a plaintiff’s ability to seek pre-election relief, a special election may also be a proper
remedy: in Clark v. Roemer, the district court ruled in favor of a special election under analogous
circumstances in which a pending Supreme Court decision in Houston Lawyers’ Ass’n v. Attorney
General of Texas, 501 U.S. 419 (1991), would have otherwise delayed plaintiffs from receiving
timely relief for judicial districts already found to have violated Section 2 of the Voting Rights
Act. 777 F. Supp. 471, 484–85 (M.D. La. 1991).


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date gives the Louisiana Legislature more than enough time to craft a remedy compliant with the

Voting Rights Act: indeed, the Legislature can and has adopted maps this very year with only one

week of session time. See La. Legis., SB8, available at https://perma.cc/MHT4-ZH4U (last visited

Feb. 12, 2024) (congressional districting map introduced on January 15, passed on January 19, and

signed into law on January 22).

       Because the Court “assess[es] any intrusion on state sovereignty from the perspective of

the people” of Louisiana, Covington II, 270 F. Supp. 3d at 894, any alleged inconvenience to

legislators elected under the unlawful maps does not constitute a significant intrusion on state

sovereignty and does not outweigh the importance of the voting rights at stake in this case, id. at

896 (collecting cases).

                                        CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that this Court grant Plaintiffs’

motion for a special election.


Date: February 13, 2024                           Respectfully submitted,


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